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                                                              EXHIBIT 2
                            UNITED STATES PATENT NO. 6,711,204
           CLAIM CHART FOR INFRINGEMENT OF REPRESENTATIVE CLAIMS 3, 25 AND 26
Note: This representative claim chart is provided solely for pleading purposes in this action and is based upon information known at this
time. This chart does not represent Plaintiff’s infringement contentions, the asserted claims, or all of Plaintiff’s allegations regarding
infringement. Plaintiff further reserves the right to assert additional or different theories of infringement, including infringement under
the doctrine of equivalents.

Infringement analysis provided for any preamble should not be construed as an admission that such preamble is limiting.


      Claim                               Pi-CON AnyWAN GATEWAY (the accused product/instrumentality)

 3.            An     The accused product (base station (BS)) connect devices like smartphones, laptops and/or tablets to the internet
 improvement          using the accused device's internet connection.Wi-Fi and/or Wi-Fi IEEE 802.11 standard uses b/g/n 2.4GHz and
 to a spread-         ac/a/n 5GHz ISM bands. The accused product supports both the bands. The IEEE 802.11b standard uses DSSS
 spectrum             (Direct Sequence Spread Spectrum). The accused product transmits a plurality of BS-spread-spectrum signals at a
 system having        first frequency defined by the 2.4GHz ISM band and/or the 5GHz band.
 a base station
 and a plurality      The frequency used for the communication between the BS and the plurality of RS is defined by the IEEE 802.011
 of       remote      standard. The accused product acts as an access point (AP) and sends out beacon frames. The devices within the
 stations (RS),       range receive the frames and use the frames to connect to the AP as per the connection parameters described in the
 with said base       frames. A Probe Response frame carries all the parameters in a beacon frame, which enables mobile stations to
 station (BS) for     match parameters and join the network. These fields specify the channel frequency to be used and the spacing of
 transmitting a       the channel. Once the frequency measurement is complete, both the uplink and downlink communication takes place
 plurality of BS-     on the measured frequency.
 spread-
 spectrum
 signals at a first
 frequency and
 for receiving,
                      Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21        Page 2 of 55 PageID 24



at a second
frequency,      a
plurality of RS-
spread-
spectrum
signals
transmitted
from         said
plurality      of
remote
stations,
respectively,
the
improvement
comprising:




                    http://kgplogistics.com/ad_jump/docs/Pi-CON-Aug2017.pdf
  Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21              Page 3 of 55 PageID 25




http://kgplogistics.com/ad_jump/docs/Pi-CON-Aug2017.pdf

As shown below, the accused product supports Wi-Fi and acts as wireless access point:
  Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21        Page 4 of 55 PageID 26




http://kgplogistics.com/ad_jump/docs/Pi-CON-Aug2017.pdf
  Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21             Page 5 of 55 PageID 27




Source: https://en.wikipedia.org/wiki/IEEE_802.11




Source:    https://www.electronics-notes.com/articles/connectivity/wifi-ieee-802-11/channels-frequencies-bands-
bandwidth.php
  Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21             Page 6 of 55 PageID 28




Source:    https://www.electronics-notes.com/articles/connectivity/wifi-ieee-802-11/channels-frequencies-bands-
bandwidth.php
  Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21             Page 7 of 55 PageID 29




Source:    https://www.electronics-notes.com/articles/connectivity/wifi-ieee-802-11/channels-frequencies-bands-
bandwidth.php
  Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21             Page 8 of 55 PageID 30




Source:    https://www.electronics-notes.com/articles/connectivity/wifi-ieee-802-11/channels-frequencies-bands-
bandwidth.php
  Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21             Page 9 of 55 PageID 31




Source:    https://www.electronics-notes.com/articles/connectivity/wifi-ieee-802-11/channels-frequencies-bands-
bandwidth.php
 Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21        Page 10 of 55 PageID 32




Source: https://microchipdeveloper.com/wifi:connecting
 Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21          Page 11 of 55 PageID 33




Source:                                              https://www.oreilly.com/library/view/80211-wireless-
networks/0596100523/ch04.html#wireless802dot112-CHP-4-FIG-38




Source:                                              https://www.oreilly.com/library/view/80211-wireless-
networks/0596100523/ch04.html#wireless802dot112-CHP-4-FIG-38
 Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21          Page 12 of 55 PageID 34




Source:                                              https://www.oreilly.com/library/view/80211-wireless-
networks/0596100523/ch04.html#wireless802dot112-CHP-4-FIG-38




Source:                                              https://www.oreilly.com/library/view/80211-wireless-
networks/0596100523/ch04.html#wireless802dot112-CHP-4-FIG-38
                   Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21                Page 13 of 55 PageID 35




                  Source:                                              https://www.oreilly.com/library/view/80211-wireless-
                  networks/0596100523/ch04.html#wireless802dot112-CHP-4-FIG-38

said       base   The base station transmits beacon frames (sounding signals) to the devices nearby at the second frequency
station     for   (measured/calculated frequency used for the uplink communication). The Power Constraint element included in the
transmitting a    beacon frames allows a device (trying to connect to the base station) to determine the local maximum transmit power
BS-channel-       in the current channel being used for communication and describes the maximum transmit power to remote stations.
sounding          The local maximum transmit power for a channel is defined as the maximum transmit power level specified for the
signal at the     channel in the Country element minus the local power constraint specified for the channel in the Power Constraint
second            element.
frequency;
 Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21          Page 14 of 55 PageID 36




Source:                                              https://www.oreilly.com/library/view/80211-wireless-
networks/0596100523/ch04.html#wireless802dot112-CHP-4-FIG-38
 Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21          Page 15 of 55 PageID 37



Source:                                              https://www.oreilly.com/library/view/80211-wireless-
networks/0596100523/ch04.html#wireless802dot112-CHP-4-FIG-38




Source:                                              https://www.oreilly.com/library/view/80211-wireless-
networks/0596100523/ch04.html#wireless802dot112-CHP-4-FIG-38
 Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21           Page 16 of 55 PageID 38




Source: http://read.pudn.com/downloads117/ebook/497259/802.11h-2003.pdf , page 27
                     Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21                 Page 17 of 55 PageID 39




                    Source: http://read.pudn.com/downloads117/ebook/497259/802.11h-2003.pdf , page 28

said plurality of   802.11 standard is a half-duplex technology. Hence, a remote station can either receive or transmit at a given time.
remote stations     This implies that when a remote station receives the sounding signal at the second frequency it is not transmitting
for receiving       at the first frequency. Hence, the BS transmits plurality of BS-spread-spectrum signals at a first frequency outside
the          BS-    a correlation bandwidth of the plurality of RS-spread-spectrum signals transmitted by plurality of remote stations at
channel-            a second frequency.
sounding
signal at the
second
frequency, with
said        base
station       for
transmitting
the plurality of
BS-spread-
spectrum
signals at the
                    Source: https://www.makeuseof.com/tag/what-is-half-duplex-and-full-duplex-operation-and-how-does-it-affect-
first frequency
                    your-router/
outside         a
correlation
bandwidth of
                    Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21              Page 18 of 55 PageID 40



the plurality of
RS-spread-
spectrum
signals
transmitted by
the plurality of
remote stations
at the second
frequency; and




                   Source:    https://www.electronics-notes.com/articles/connectivity/wifi-ieee-802-11/channels-frequencies-bands-
                   bandwidth.php
 Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21              Page 19 of 55 PageID 41




Source:    https://www.electronics-notes.com/articles/connectivity/wifi-ieee-802-11/channels-frequencies-bands-
bandwidth.php
 Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21              Page 20 of 55 PageID 42




Source:    https://www.electronics-notes.com/articles/connectivity/wifi-ieee-802-11/channels-frequencies-bands-
bandwidth.php
 Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21              Page 21 of 55 PageID 43




Source:    https://www.electronics-notes.com/articles/connectivity/wifi-ieee-802-11/channels-frequencies-bands-
bandwidth.php
                     Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21                Page 22 of 55 PageID 44




                    Source:    https://www.electronics-notes.com/articles/connectivity/wifi-ieee-802-11/channels-frequencies-bands-
                    bandwidth.php

said plurality of   The base station transmits beacon frames (sounding signal) to the devices nearby at the second frequency
remote              (measured/calculated frequency used for the uplink communication). The Power Constraint element included in the
stations,           beacon frames allows a device (trying to connect to the base station) to determine the local maximum transmit power
responsive to       in the current channel being used for communication and describes the maximum transmit power to remote stations.
                   Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21               Page 23 of 55 PageID 45



the          BS- The local maximum transmit power for a channel is defined as the maximum transmit power level specified for the
channel-          channel in the Country element minus the local power constraint specified for the channel in the Power Constraint
sounding          element.
signal,       for
adjusting      an
initial      RS-
power level of
said plurality of
remote
stations.




                 Source:                                              https://www.oreilly.com/library/view/80211-wireless-
                 networks/0596100523/ch04.html#wireless802dot112-CHP-4-FIG-38
 Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21          Page 24 of 55 PageID 46




Source:                                              https://www.oreilly.com/library/view/80211-wireless-
networks/0596100523/ch04.html#wireless802dot112-CHP-4-FIG-38




Source:                                              https://www.oreilly.com/library/view/80211-wireless-
networks/0596100523/ch04.html#wireless802dot112-CHP-4-FIG-38
 Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21           Page 25 of 55 PageID 47




Source: http://read.pudn.com/downloads117/ebook/497259/802.11h-2003.pdf , page 27
                      Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21                  Page 26 of 55 PageID 48




                     Source: http://read.pudn.com/downloads117/ebook/497259/802.11h-2003.pdf , page 28

25.           An     The accused product (base station (BS)) provides wireless hotspot to connect devices like smartphones, laptops
improvement          and/or tablets to the internet using the accused device's internet connection. A mobile hotspot on the accused product
to a spread-         shares the internet connection via Wi-Fi technology with nearby devices such as smartphones, tablets, or other
spectrum             devices (plurality of remote stations (RS)) using Wi-Fi technology. Wi-Fi and/or Wi-Fi IEEE 802.11 standard uses
method having        b/g/n 2.4GHz and ac/a/n 5GHz ISM bands. The accused product supports both the bands. The IEEE 802.11b
a base station       standard uses DSSS (Direct Sequence Spread Spectrum). The accused product transmits a plurality of BS-spread-
and a plurality      spectrum signals at a first frequency defined by the 2.4GHz ISM band and/or the 5GHz band.
of        remote
stations (RS),       The frequency used for the communication between the BS and the plurality of RS is defined by the IEEE 802.011
comprising the       standard. When a hotspot is created, it acts as an access point (AP) and sends out beacon frames. The devices within
steps of:            the range receive the frames and use the frames to connect to the AP as per the connection parameters described in
transmitting,        the frames. A Probe Response frame carries all the parameters in a beacon frame, which enables mobile stations to
from said base       match parameters and join the network. These fields specify the channel frequency to be used and the spacing of
station,         a   the channel. Once the frequency measurement is complete, both the uplink and downlink communication takes place
plurality of BS-     on the measured frequency.
spread-
spectrum
signals at a first
frequency;
                  Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21             Page 27 of 55 PageID 49



transmitting,
from         said
plurality      of
remote
stations,       a
plurality of RS-
spread-
spectrum
signals;
receiving,     at
said        base
station, at a
second
frequency, the
plurality of RS-
spread-
spectrum
signals
transmitted
from         said
plurality      of
remote
stations,         http://kgplogistics.com/ad_jump/docs/Pi-CON-Aug2017.pdf
respectively;

                As shown below, the accused product supports Wi-Fi and acts as wireless access point:
 Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21         Page 28 of 55 PageID 50




http://kgplogistics.com/ad_jump/docs/Pi-CON-Aug2017.pdf
 Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21              Page 29 of 55 PageID 51




Source: https://en.wikipedia.org/wiki/IEEE_802.11




Source:    https://www.electronics-notes.com/articles/connectivity/wifi-ieee-802-11/channels-frequencies-bands-
bandwidth.php
 Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21              Page 30 of 55 PageID 52




Source:    https://www.electronics-notes.com/articles/connectivity/wifi-ieee-802-11/channels-frequencies-bands-
bandwidth.php
 Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21              Page 31 of 55 PageID 53




Source:    https://www.electronics-notes.com/articles/connectivity/wifi-ieee-802-11/channels-frequencies-bands-
bandwidth.php
 Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21              Page 32 of 55 PageID 54




Source:    https://www.electronics-notes.com/articles/connectivity/wifi-ieee-802-11/channels-frequencies-bands-
bandwidth.php
 Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21              Page 33 of 55 PageID 55




Source:    https://www.electronics-notes.com/articles/connectivity/wifi-ieee-802-11/channels-frequencies-bands-
bandwidth.php
 Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21        Page 34 of 55 PageID 56




Source: https://microchipdeveloper.com/wifi:connecting
 Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21          Page 35 of 55 PageID 57




Source:                                              https://www.oreilly.com/library/view/80211-wireless-
networks/0596100523/ch04.html#wireless802dot112-CHP-4-FIG-38




Source:                                              https://www.oreilly.com/library/view/80211-wireless-
networks/0596100523/ch04.html#wireless802dot112-CHP-4-FIG-38
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Source:                                              https://www.oreilly.com/library/view/80211-wireless-
networks/0596100523/ch04.html#wireless802dot112-CHP-4-FIG-38




Source:                                              https://www.oreilly.com/library/view/80211-wireless-
networks/0596100523/ch04.html#wireless802dot112-CHP-4-FIG-38
                  Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21                Page 37 of 55 PageID 59




                 Source:                                              https://www.oreilly.com/library/view/80211-wireless-
                 networks/0596100523/ch04.html#wireless802dot112-CHP-4-FIG-38

transmitting,    The base station transmits beacon frames (sounding signals) to the devices nearby at the second frequency
from said base   (measured/calculated frequency used for the uplink communication). The Power Constraint element included in the
station, a BS-   beacon frames allows a device (trying to connect to the base station) to determine the local maximum transmit power
channel-         in the current channel being used for communication and describes the maximum transmit power to remote stations.
sounding         The local maximum transmit power for a channel is defined as the maximum transmit power level specified for the
signal at the    channel in the Country element minus the local power constraint specified for the channel in the Power Constraint
second           element.
frequency;
 Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21          Page 38 of 55 PageID 60




Source:                                              https://www.oreilly.com/library/view/80211-wireless-
networks/0596100523/ch04.html#wireless802dot112-CHP-4-FIG-38
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Source:                                              https://www.oreilly.com/library/view/80211-wireless-
networks/0596100523/ch04.html#wireless802dot112-CHP-4-FIG-38




Source:                                              https://www.oreilly.com/library/view/80211-wireless-
networks/0596100523/ch04.html#wireless802dot112-CHP-4-FIG-38
 Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21           Page 40 of 55 PageID 62




Source: http://read.pudn.com/downloads117/ebook/497259/802.11h-2003.pdf , page 27
                   Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21                 Page 41 of 55 PageID 63




                 Source: http://read.pudn.com/downloads117/ebook/497259/802.11h-2003.pdf , page 28

receiving,     at 802.11 standard is a half-duplex technology. Hence, a remote station can either receive or transmit at a given time.
said plurality of This implies that when a remote station receives the sounding signal at the second frequency it is not transmitting
remote            at the first frequency.
stations,     the
BS-channel-
sounding
signal at the
second
frequency; and




                 Source: https://www.makeuseof.com/tag/what-is-half-duplex-and-full-duplex-operation-and-how-does-it-affect-
                 your-router/
 Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21              Page 42 of 55 PageID 64




Source:    https://www.electronics-notes.com/articles/connectivity/wifi-ieee-802-11/channels-frequencies-bands-
bandwidth.php
 Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21              Page 43 of 55 PageID 65




Source:    https://www.electronics-notes.com/articles/connectivity/wifi-ieee-802-11/channels-frequencies-bands-
bandwidth.php
 Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21              Page 44 of 55 PageID 66




Source:    https://www.electronics-notes.com/articles/connectivity/wifi-ieee-802-11/channels-frequencies-bands-
bandwidth.php
 Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21              Page 45 of 55 PageID 67




Source:    https://www.electronics-notes.com/articles/connectivity/wifi-ieee-802-11/channels-frequencies-bands-
bandwidth.php
                     Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21                Page 46 of 55 PageID 68




                    Source:    https://www.electronics-notes.com/articles/connectivity/wifi-ieee-802-11/channels-frequencies-bands-
                    bandwidth.php

adjusting,     at   The base station transmits beacon frames (sounding signal) to the devices nearby at the second frequency
said plurality of   (measured/calculated frequency used for the uplink communication). The Power Constraint element included in the
remote              beacon frames allows a device (trying to connect to the base station) to determine the local maximum transmit power
stations,           in the current channel being used for communication and describes the maximum transmit power to remote stations.
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responsive to The local maximum transmit power for a channel is defined as the maximum transmit power level specified for the
the          BS- channel in the Country element minus the local power constraint specified for the channel in the Power Constraint
channel-          element.
sounding
signal,       an
initial      RS-
power level of
said plurality of
remote
stations.




                 Source:                                              https://www.oreilly.com/library/view/80211-wireless-
                 networks/0596100523/ch04.html#wireless802dot112-CHP-4-FIG-38
 Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21          Page 48 of 55 PageID 70




Source:                                              https://www.oreilly.com/library/view/80211-wireless-
networks/0596100523/ch04.html#wireless802dot112-CHP-4-FIG-38




Source:                                              https://www.oreilly.com/library/view/80211-wireless-
networks/0596100523/ch04.html#wireless802dot112-CHP-4-FIG-38
 Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21           Page 49 of 55 PageID 71




Source: http://read.pudn.com/downloads117/ebook/497259/802.11h-2003.pdf , page 27
                    Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21                   Page 50 of 55 PageID 72




                   Source: http://read.pudn.com/downloads117/ebook/497259/802.11h-2003.pdf , page 28

26.         The    See Claim 25 above. 802.11 standard is a half-duplex technology. Hence, a remote station can either receive or
improvement        transmit at a given time. This implies that when a remote station receives the sounding signal at the second frequency
as set forth in    it is not transmitting at the first frequency. Hence, the BS transmits plurality of BS-spread-spectrum signals at a first
claim 25, with     frequency outside a correlation bandwidth of the plurality of RS-spread-spectrum signals transmitted by plurality
the step of        of remote stations at a second frequency.
transmitting
the plurality of
BS-spread-
spectrum
signals
including the
step          of
transmitting
the plurality of
BS-spread-
spectrum
                   Source: https://www.makeuseof.com/tag/what-is-half-duplex-and-full-duplex-operation-and-how-does-it-affect-
signals at the
                   your-router/
first frequency
outside        a
correlation
                    Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21              Page 51 of 55 PageID 73



bandwidth of
the plurality of
RS-spread-
spectrum
signals
transmitted by
the plurality of
remote stations
at the second
frequency.



                   Source:    https://www.electronics-notes.com/articles/connectivity/wifi-ieee-802-11/channels-frequencies-bands-
                   bandwidth.php
 Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21              Page 52 of 55 PageID 74




Source:    https://www.electronics-notes.com/articles/connectivity/wifi-ieee-802-11/channels-frequencies-bands-
bandwidth.php
 Case 3:21-cv-00975-N Document 1-3 Filed 04/30/21              Page 53 of 55 PageID 75




Source:    https://www.electronics-notes.com/articles/connectivity/wifi-ieee-802-11/channels-frequencies-bands-
bandwidth.php
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Source:    https://www.electronics-notes.com/articles/connectivity/wifi-ieee-802-11/channels-frequencies-bands-
bandwidth.php
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Source:    https://www.electronics-notes.com/articles/connectivity/wifi-ieee-802-11/channels-frequencies-bands-
bandwidth.php
